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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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SECURITIES AND EXCHANGE COMMISSION,                                     :
                                                                        :
                                             Plaintiff,                 :
                                                                        :
                           - against -                                  :   18 Civ. 02909 (DLC)
                                                                        :
                                                                        :
SOHRAB (“SAM”) SHARMA, ROBERT FARKAS,                                   :
and RAYMOND TRAPANI,                                                    :
                                                                        :
                                                                        :
                                             Defendants.                :
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                             JUDGMENT AS TO RAYMOND TRAPANI

        The Securities and Exchange Commission having filed an Amended Complaint and

Defendant Raymond Trapani (“Defendant”) having entered a general appearance; consented to

the Court’s jurisdiction over Defendant and the subject matter of this action; consented to entry

of this Final Judgment; waived findings of fact and conclusions of law; and waived any right to

appeal from this Final Judgment:

                                                         I.

        IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that Defendant is

permanently restrained and enjoined from violating, directly or indirectly, Section 10(b) of the

Securities Exchange Act of 1934 (the “Exchange Act”) [15 U.S.C. § 78j(b)] and Rule 10b-5

promulgated thereunder [17 C.F.R. § 240.10b-5], by using any means or instrumentality of

interstate commerce, or of the mails, or of any facility of any national securities exchange, in

connection with the purchase or sale of any security:

        (a)      to employ any device, scheme, or artifice to defraud;
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        (b)     to make any untrue statement of a material fact or to omit to state a material fact

                necessary in order to make the statements made, in the light of the circumstances

                under which they were made, not misleading; or

        (c)     to engage in any act, practice, or course of business which operates or would

                operate as a fraud or deceit upon any person.

        IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, as provided in

Federal Rule of Civil Procedure 65(d)(2), the foregoing paragraph also binds the following who

receive actual notice of this Final Judgment by personal service or otherwise: (a) Defendant’s

officers, agents, servants, employees, and attorneys; and (b) other persons in active concert or

participation with Defendant or with anyone described in (a).

                                                II.

        IT IS HEREBY FURTHER ORDERED, ADJUDGED, AND DECREED that Defendant

is permanently restrained and enjoined from violating Section 17(a) of the Securities Act of 1933

(the “Securities Act”) [15 U.S.C. § 77q(a)] in the offer or sale of any security by the use of any

means or instruments of transportation or communication in interstate commerce or by use of the

mails, directly or indirectly:

        (a)     to employ any device, scheme, or artifice to defraud;

        (b)     to obtain money or property by means of any untrue statement of a material fact

                or any omission of a material fact necessary in order to make the statements

                made, in light of the circumstances under which they were made, not misleading;

                or

        (c)     to engage in any transaction, practice, or course of business which operates or

                would operate as a fraud or deceit upon the purchaser.



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       IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, as provided in

Federal Rule of Civil Procedure 65(d)(2), the foregoing paragraph also binds the following who

receive actual notice of this Final Judgment by personal service or otherwise: (a) Defendant’s

officers, agents, servants, employees, and attorneys; and (b) other persons in active concert or

participation with Defendant or with anyone described in (a).

                                                 III.

       IT IS HEREBY FURTHER ORDERED, ADJUDGED, AND DECREED that Defendant

is permanently restrained and enjoined from violating Sections 5(a) and (c) of the Securities Act

[15 U.S.C. § 77e(a) and (c)] by, directly or indirectly, in the absence of any applicable

exemption:

       (a)     Unless a registration statement is in effect as to a security, making use of any

               means or instruments of transportation or communication in interstate commerce

               or of the mails to sell such security through the use or medium of any prospectus

               or otherwise; or

       (b)     Making use of any means or instruments of transportation or communication in

               interstate commerce or of the mails to offer to sell or offer to buy through the use

               or medium of any prospectus or otherwise any security, unless a registration

               statement has been filed with the Commission as to such security, or while the

               registration statement is the subject of a refusal order or stop order or (prior to the

               effective date of the registration statement) any public proceeding or examination

               under Section 8 of the Securities Act [15 U.S.C. § 77h].

       IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, as provided in

Federal Rule of Civil Procedure 65(d)(2), the foregoing paragraph also binds the following who



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receive actual notice of this Final Judgment by personal service or otherwise: (a) Defendant’s

officers, agents, servants, employees, and attorneys; and (b) other persons in active concert or

participation with Defendant or with anyone described in (a).

                                                IV.

       IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that pursuant to Section

21(d)(5) of the Exchange Act [15 U.S.C. § 78u(d)(5)], that Defendant is permanently restrained

and enjoined from participating, directly or indirectly, in any offering of securities, including any

digital asset security; provided, however, that such injunction shall not prevent Defendant from

purchasing or selling securities for his own personal account.

       IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, as provided in

Federal Rule of Civil Procedure 65(d)(2), the foregoing paragraph also binds the following who

receive actual notice of this Final Judgment by personal service or otherwise: (a) Defendant’s

officers, agents, servants, employees, and attorneys; and (b) other persons in active concert or

participation with Defendant or with anyone described in (a).

                                                 V.

       IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, pursuant to Section

21(d)(2) of the Exchange Act [15 U.S.C. § 78u(d)(2)] and Section 20(e) of the Securities Act [15

U.S.C. § 77t(e)], Defendant is prohibited from acting as an officer or director of any issuer that

has a class of securities registered pursuant to Section 12 of the Exchange Act [15 U.S.C. § 78l]

or that is required to file reports pursuant to Section 15(d) of the Exchange Act [15 U.S.C.

§ 78o(d)].

                                                VI.

       IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that Defendant is liable



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for disgorgement of $2,400,000, representing net profits gained as a result of the conduct alleged

in the Amended Complaint, together with prejudgment interest thereon in the amount of

$208,869.68, for a total of $2,608,869.68, which is deemed satisfied by the Preliminary Order of

Forfeiture and Money Judgment entered against Defendant in the amount of $2,400,000 in

United States v. Trapani, 18-cr-340 (S.D.N.Y.) (LGS) (Dkt. No. 578) (the “Criminal

Proceeding”), and the approximately $4,422,383.45 in possession of the United States, which

represents the proceeds from appreciation in the market price of 100,000 Ether units that the

Federal Bureau of Investigation seized in 2018 from the defendants’ digital Ether wallet address

since defendants personally obtained them; and further orders that in the event that no final order

of forfeiture is entered in the Criminal Proceeding and/or any portion of the money judgment in

the Criminal Proceeding is vacated and/or reduced, Defendant shall receive a credit towards his

$2,608,869.68 disgorgement obligation, for any amounts ordered to be paid in the Criminal

Proceeding. The difference between the $2,608,869.68 and the amount ordered in the Criminal

Proceeding shall become due and payable fourteen (14) days after entry of the Final Judgment,

or fourteen (14) days after entry of the mandate vacating and/or reducing amount due in the

Criminal Proceeding, whichever is later.

                                               VII.

       IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that the Consent is

incorporated herein with the same force and effect as if fully set forth herein, and that Defendant

shall comply with all of the undertakings and agreements set forth therein.




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